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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS WESI Er
                                  AUSTIN DIVISION

JESSICA NICOLE STAFFORD,

                                   Plaintiff,

vs.

MID-CONTINENT CASUALTY                                    CIVIL ACTION NO. 1:17-cv-636
COMPANY,

                                Defendant.




                ORDER GRANTING PLAINTIFF'S MOTION TO DISMISS


        The Plaintiff and Defendant by and through their attorneys of record, having informed the

Court that the Plaintiffs' suit herein against Defendant has been resolved, and that Plaintiff

having prayed that its action against Defendant be dismissed with prejudice, and it appearing to

the Court that the dismissal with prejudice should be made as prayed.

         The Court having expressly determined that there is no just reason for delay in entering

judgment as to the Plaintiff's claims herein against MID-CONTINENT CASUALTY

COMPANY, the Court hereby expressly directs that final judgment dismissing with prejudice

such claims of the Plaintiff against Defendant be made.

         Now, therefore, it is ORDERED, ADJUDGED and DECREED that all claims against

Defendant be and same are hereby dismissed, with prejudice, as of such settlement, with legally

taxable costs herein to be borne by the parties incurring same.




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        All relief not expressly granted herein is DENIED.

        SIGNED this           day of ____  i4t- ,2018.

                                             UNITED STATES DIfflCT JUDGE




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